       Case 3:08-cr-00022-LC-CJK        Document 484         Filed 01/15/09         Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                               CASE NO. 3:08cr22 LAC

DANIEL CASTLEMAN

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on APRIL 30, 2008
Motion/Pleadings: FIRST MOTION IN LIMINE
Filed by DEFENDANT                      on 4/28/08                      Doc.# 181

RESPONSES:
BY GOVERNMENT                                  on 4/30/08               Doc.# 195
                                               on                       Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,      it    is    ORDERED    this     15 th   day   of
January, 2009, that:
(a) The relief requested is DENIED.
(b) See record of trial.



                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
